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 5
 6    ATTORNEY FOR Defendant,
      TIMOTHY PATRICK ORTIZ
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                 ******

11    UNITED STATES OF AMERICA,                            Case No.: 1:14-CR-00101-DAD-BAM-2
12                  Plaintiff,                             STIPULATION AND ORDER TO
13           v.                                            CONTINUE SENTENCING

14
                                                           Date: December 4, 2017
15    TIMOTHY ORTIZ,                                       Time: 10:00 a.m.
                                                           Courtroom: 5
16                  Defendant.                             Hon. David A. Drozd
17
18    TO:    THE HONORABLE COURT AND TO THE UNITED STATES ATTORNEY:
19           Defendant, TIMOTHY ORTIZ and through his attorney of record, Anthony P. Capozzi
20    and the United States Attorney by and through Karen Escobar, hereby stipulate as follows:
21           1.     By previous order, this matter was set for sentencing on December 4, 2017, at
22    10:00 a.m.
23           2.     The parties agree and stipulate that Defendant requests this court to continue the
24    sentencing until January 29, 2018, at 10:00 a.m.
25           3.     The parties agree and stipulate, and request that the Court find the following:
26                  a. The Defendant pled guilty on August 14, 2017.
27                  b. Defense counsel was in a two week long jury trial when the final Presentence
28           Report and Victim Impact Statements were filed.



                                                         1
                                   STIPULATION AND ORDER TO CONTINUE SENTENCING
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 1                  c. Defense needs additional time to review the filings.
 2                  d. The Government does not object to this continuance.
 3           4.     Additionally, the parties also agree to amend the briefing schedule as follows:
 4    the Defendant’s Sentencing Memorandum will be due on January 16, 2018, and any response
 5    will be due on January 22, 2018.
 6    IT IS SO STIPULATED.
 7
 8                                             Respectfully submitted,

 9    DATED:      November 30, 2017      By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
10                                           Attorney for Defendant TIMOTHY PATRICK
11                                           ORTIZ

12
13    DATED:      November 30, 2017      By: /s/Karen A. Escobar
                                             KAREN A. ESCOBAR
14                                           Assistant United States Attorney
15
16
17                                               ORDER

18           The court has reviewed and considered the stipulation of the parties to continue the

19    sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

20    defendant currently scheduled for December 4, 2017, is continued until January 29, 2018, at

21    10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd. The defendant’s sentencing

22    memorandum is due on January 16, 2018, and any response is due on January 22, 2018.

23
      IT IS SO ORDERED.
24
25
         Dated:    November 30, 2017
                                                        UNITED STATES DISTRICT JUDGE
26
27
28



                                                       2
                                 STIPULATION AND ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:14-CR-00101-2 DAD
